                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


STUDENTS FOR FAIR
ADMISSIONS, INC.,
                       Plaintiff,
v.                                    CASE NO. 1:14-CV-954

THE UNIVERSITY OF NORTH
CAROLINA, et al.,
                       Defendants.


             REPLY IN FURTHER SUPPORT OF DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT




     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 1 of 19
                                             TABLE OF CONTENTS


TABLE OF AUTHORITIES ............................................................................................... ii

INTRODUCTION ............................................................................................................... 1

ARGUMENT....................................................................................................................... 2

I.       The University Established Its Compelling Interest in the Educational
         Benefits of Diversity as a Matter of Law. ................................................................ 2

         A.        The University Pursues Educational Benefits Endorsed by the
                   Supreme Court. .............................................................................................. 2

         B.        No Evidence Undermines the University’s Academic Judgment to
                   Pursue the Educational Benefits of Diversity. .............................................. 5

II.      The University’s Consideration of Race in Admissions Is Narrowly
         Tailored to Achieve Its Compelling Interests........................................................... 6

         A.        The University Considers Race Flexibly as Part of a Holistic
                   Review. .......................................................................................................... 6

         B.        No Race-Neutral Alternative Exists That Could Promote the
                   University’s Compelling Interest in Diversity as Well. .............................. 10

CONCLUSION ................................................................................................................. 13




                                                                 i




       Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 2 of 19
                                         TABLE OF AUTHORITIES


Cases                                                                                                                    Page

Fisher v. University of Texas at Austin,

  136 S. Ct. 2198 (2016)............................................................................................ passim

Fisher v. University of Texas at Austin,

  570 U.S. 297 (2013) ........................................................................................................ 3

Fisher v. University of Texas at Austin,

  758 F.3d 633 (5th Cir. 2014) ........................................................................................... 4

Grutter v. Bollinger,

  539 U.S. 306 (2003) ........................................................................................ 3, 8, 11, 12

Peters v. Jenney,

  327 F.3d 307 (4th Cir. 2003) ........................................................................................... 5

Regents of the University of California v. Bakke,

  438 U.S. 265 (1978) ...................................................................................................... 11




                                                              ii




     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 3 of 19
                                    INTRODUCTION

       The University met its burden to prove both that it has a compelling interest in the

educational benefits of diversity and its limited use of race, as one factor among many in

its admissions process, is narrowly tailored to achieve that interest. All evidence supports

that the University pursues well-established diversity goals unique to the educational

setting; carefully adheres to Supreme Court guidance, considering race flexibly as part of

a holistic and individualized admissions process; and has given serious, good-faith

consideration to race-neutral alternatives and found none that could achieve its goals

about as well.

       SFFA offers no material evidence to dispute this proof. Instead, it attempts to

distract the Court from the relevant questions and undermine settled law. SFFA wrongly

asserts that the University must use the term “critical mass” and pursue it as its sole

diversity goal; wrongly claims that the constitutionality of the University’s admissions

process can be assessed based only on a subset of non-representative applicants, rather

than across the entire applicant pool; and wrongly contends that a “workable” race-

neutral alternative exists in the form of an admissions plan that values socioeconomic

status above all other applicant characteristics. SFFA rests its entire case on improperly

focused expert testimony, which ignores or misconstrues the factual record, and then

wrongly asserts—despite overwhelming evidence and argument to the contrary—that the

University agrees with this testimony.




     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 4 of 19
       Erroneous assertions and inapposite expert testimony cannot defeat a motion for

summary judgment. Because SFFA’s arguments and evidence are immaterial to the

critical questions at issue, this Court can and should grant summary judgment in favor of

the University.

                                      ARGUMENT

I.     The University Established Its Compelling Interest in the Educational
       Benefits of Diversity as a Matter of Law.

       The University established a compelling interest in pursuing the educational

benefits of diversity. (Dkt. 153 (“UNC Br.”) at 27-28; Dkt. 175 (“UNC Opp.”) at 2-4.)

SFFA concedes this interest is valid under “controlling precedent,” but second guesses

the University’s articulation of the educational benefits it seeks and its “academic

judgment” to pursue those benefits. (Dkt. 177 (“SFFA Opp.”) at 3-4; see also Dkt. 159

(“SFFA Br.”) at 28-29.) SFFA’s challenges are meritless. The University’s diversity

goals are grounded in established precedent and its judgment to pursue such goals is

entitled to deference. Fisher v. Univ. of Tex. at Austin, 136 S. Ct. 2198, 2208 (2016)

(“Fisher II”).

       A.        The University Pursues Educational Benefits Endorsed by the Supreme
                 Court.

       Overwhelming evidence shows that the University deliberately pursues well-

recognized educational benefits of diversity, including enhanced learning, understanding,

innovation, problem-solving, and empathy—to name but a few. (UNC Br. at 5-7; UNC


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     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 5 of 19
Opp. at 4-5.) SFFA disregards the legitimacy of the University’s objectives, urging

instead that the achievement of “critical mass” is the only “diversity goal” sanctioned by

the Supreme Court. (SFFA Opp. at 4-5 (claiming “the ‘critical mass’ interest” is the

“only” permissible goal).) SFFA goes so far as to contend that because the University did

not use the words “critical mass” in its opening brief, it loses. (Id. at 4 (“[T]he phrase

‘critical mass’ does not even appear in UNC’s brief. That should be decisive.”).) This

argument is spurious. As an initial matter, it disregards that the University’s policy

documents have recognized the goal of enrolling critical masses of underrepresented

minorities (“URMs”) (see, e.g., UNC Ex. 39 at UNC0323609), a fact on which SFFA

itself relied in its cross-motion for summary judgment (SFFA Br. at 4). More importantly,

SFFA’s argument depends on a legal fallacy.

       No case holds that “critical mass” is the singular justification for a race-conscious

admissions program. To the contrary, in Fisher II, the Supreme Court made clear that the

compelling interest that justifies the consideration of race in admissions is “not an interest

in enrolling a certain number of minority students. Rather, a university may institute a

race-conscious admissions program as a means of obtaining the educational benefits that

flow from student body diversity.” Fisher II, 136 S. Ct. at 2210 (quoting Fisher v. Univ. of

Tex. at Austin, 570 U.S. 297 (2013)) (emphasis added) (internal quotations omitted); see

also, e.g., Grutter v. Bollinger, 539 U.S. 306, 330 (2003) (recognizing that the “concept

of critical mass is defined by reference to the educational benefits that diversity is

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     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 6 of 19
designed to produce”). “Critical mass” is simply a way to describe “sufficient diversity to

attain the educational benefits.” Fisher v. Univ. of Tex. at Austin, 758 F.3d 633, 644 (5th

Cir. 2014).

       In its opening brief, the University provided “‘a reasoned, principled explanation’

for its decision” to pursue the educational benefits of diversity. Fisher II, 136 S. Ct. at

2208. Accordingly, “deference must be given” to the University’s determination that

diversity serves its educational goals. Id. SFFA confuses matters, claiming that the

University’s “use of race is not narrowly tailored” because it “does not use race to

achieve ‘critical mass.’” (SFFA Opp. at 4 (emphasis added).) This conflates the hoped-

for ends (i.e., sufficient diversity to attain educational goals) with the means the

University may use to pursue those ends (i.e., consideration of race). It is the latter that

must be narrowly tailored. See Fisher II, 136 S. Ct. at 2208.

       At bottom, SFFA does not dispute that the University has set permissible

educational goals and continually assesses its progress toward achieving those goals, just

as the Supreme Court requires. (UNC Br. at 5-10, 27-28; UNC Opp. at 2-5.) The

determination of whether the University’s consideration of race in admissions is narrowly

tailored must be made in reference to those permissible, compelling goals, see Fisher II,

136 S. Ct. at 2208, and not—as SFFA insists—based upon terminology the University

used to describe those goals.




                                               4




     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 7 of 19
       B.     No Evidence Undermines the University’s Academic Judgment to
              Pursue the Educational Benefits of Diversity.

       All evidence demonstrates the University’s long-standing and genuine

commitment to achieving the educational benefits of diversity. (UNC Br. at 5-10.) SFFA

overlooks this evidence, asserting that the University considers race in admissions

“heedless of the demonstrated harm it causes” to URM applicants. (SFFA Opp. at 4.)

Tellingly, SFFA fails to point to any concrete support for this assertion and instead

recycles by reference its argument that this purported harm is lower graduation rates

among some racial or ethnic groups. (Id. (citing SFFA Br. at 28-31).) But SFFA’s cited

evidence overwhelmingly reinforces that the University devotes substantial care and

resources to closing this gap and fostering an environment where all admitted students

can thrive. (SFFA Br. at 29 (citing SFFA Exs. 39 at UNC0236952-53 (diversity plan

discussing efforts to support and retain URMs), 40 (retention study analyzing methods to

encourage student success), and 42 (report examining methods to support URM males)).)

       SFFA’s reliance on these documents highlights its inability to challenge the

University’s compelling interest in pursuing the educational benefits of diversity. The

Court should disregard the “mere scintilla” of misconstrued evidence SFFA offers and

find that the University has established a compelling interest in the educational benefits

of diversity as a matter of law. See Peters v. Jenney, 327 F.3d 307, 314 (4th Cir. 2003).




                                             5




     Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 8 of 19
II.    The University’s Consideration of Race in Admissions Is Narrowly Tailored
       to Achieve Its Compelling Interests.

       A.     The University Considers Race Flexibly as Part of a Holistic Review.

       The evidence conclusively shows that the University’s admissions process is

holistic and individualized, considering race flexibly as one factor among many; does not

use quotas, racial set-asides, or automatic point allocations; and does not intentionally

discriminate against applicants. (UNC Br. at 11-12, 30; see also SFFA Opp. at 5-6

(admitting the University’s process is facially holistic).) This evidence proves false the

core claim of SFFA’s complaint, which alleges that the University uses race in an

outsized way that negates the individualized nature of its holistic process. (Compl. ¶199.)

       Undeterred, SFFA turns to the expert testimony of Peter Arcidiacono to argue that

the University’s admissions process is “implicitly” formulaic and unconstitutional.

(SFFA Opp. at 5.) But Arcidiacono’s analysis is immaterial to the central dispute—

whether race dominates the admissions process—because his conclusions are drawn from

a small, non-representative subset of applicants. (UNC Ex. 24 ¶¶29-41.) Arcidiacono

built a regression model, which he claims embodies the University’s admissions process,

in order to generate an estimated admissions probability for applicants. (UNC Ex. 23

¶¶44-46.) In so doing, Arcidiacono placed heavy weight on observable applicant

characteristics such as test scores, grades, and race. (Id. ¶47.) He then artificially focused

his “transformation” analysis on hypothetical applicants who have either a 10% or 25%

estimated chance of admission. (Id. ¶¶58-61.)

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      Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 9 of 19
       Notably, this analysis ignores the highly competitive nature of the University’s

admissions process. According to Arcidiacono’s own models, roughly 80% of the

University’s admitted in-state students come from the top 40% of the applicant pool with

the highest estimated chance of admission. (Id. ¶53.) Similarly, again based on

Arcidiacono’s own models, roughly 57% of admitted out-of-state students come from the

top 10% of the applicant pool with highest estimated chance of admission. (Id. ¶64.)

Nevertheless, Arcidiacono chose to base his in-state analysis on applicants who comprise

only 19% of admitted applicants. (Id. ¶53.) Indeed, 75% of Arcidiacono’s hypothetical

transformation examples are drawn from a subset that, according to his model, comprises

only 6% of admitted applicants. (Id. ¶60.)1

       SFFA attempts to justify Arcidiacono’s decision post hoc, claiming that because,

on average, only approximately 25% of applicants are admitted, it is appropriate to focus

on applicants who have only a “25% chance of admission.” (SFFA Opp. at 12.) This

reasoning defies logic. An analysis based on an applicant who has a low estimated chance



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    SFFA suggests that the University takes issue only with Arcidiacono’s exclusion of
    so-called perfect predictions. (SFFA Opp. at 9-10.) Although disregard for this data
    certainly contributes to the flawed and unreliable nature of Arcidiacono’s model
    (UNC Br. at 32), it is not the sole basis for Hoxby’s conclusion that Arcidiacono’s
    analysis is driven by a small, non-representative subset of applicants. (See, e.g., UNC
    Ex. 23 ¶¶43, 68 (criticizing as misleading Arcidiacono’s focus on applicants in deciles
    4 through 6 of his academic index); UNC Ex. 24 ¶¶29-30 (criticizing as misleading
    Arcidiacono’s “marginal effects of race” as “driven by small numbers of students”).)


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    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 10 of 19
of admission is not representative of an admitted class comprised primarily of applicants

who have higher chances of admission.

       SFFA’s argument also underscores the key legal question for the Court: should the

constitutionality of the University’s admissions process be assessed across the entire

applicant pool as the University contends, or by reference to only a small subset of

applicants who have reduced chances of admission as SFFA urges? (Compare UNC Br.

at 31 (“the germane question” is “whether the entire admissions program” properly

considers race) with SFFA Opp. at 7 (“The legal inquiry is not about determining the

‘overall’ role of race in admissions decisions.”).)

       The answer, of course, is the entire applicant pool, which is precisely what Hoxby

analyzed. This is because the Supreme Court already has recognized that an admissions

program may be narrowly tailored even though race could play a larger role for URM

applicants whose chances of admission may otherwise seem more remote. See Grutter,

539 U.S. at 339 (accepting that race may be “‘likely outcome determinative for the many

members of minority groups’ who do not fall within the upper range of [test] scores and

grades”). Indeed, when the Supreme Court revisited this issue in 2016, it reaffirmed that

it is a “hallmark of narrow tailoring” for race to play a role in a small portion of

admissions decisions across the admitted class. See Fisher II, 136 S. Ct. at 2212.

       Against the weight of authority, SFFA urges that “an admissions process that

makes race … a dominant factor for any applicant is constitutionally suspect.” (SFFA

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    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 11 of 19
Opp. at 12.) This argument overreaches. Race-conscious admissions would be

meaningless if race could never tip the scales. See, e.g., Grutter, 539 U.S. at 326 (“Strict

scrutiny is not ‘strict in theory, but fatal in fact.’” (citation omitted)).

       Compounding the problems with its analysis, SFFA relies on hypothetical

admissions outcomes for individual, hypothetical applicants to purportedly show that race

is a dominant factor for at least some University applicants.2 (SFFA Opp. at 11, 12 n.2

(citing Arcidiacono’s hypothetical transformation examples).) Of course, a person’s race

cannot simply be turned “on” or “off” in isolation and without collateral impact as

Arcidiacono does in his analysis. Even setting this aside, SFFA has not identified a single

actual applicant who did not receive individualized, holistic consideration or whose

admission was affected by race or ethnicity. Thus, even by SFFA’s own standards, the

University’s admissions process is sound.

       In the end, a trial is not needed here. Supreme Court guidance provides the answer

to the legal question of how to assess the constitutionality of the University’s admissions

program and the material facts are not in dispute. Only the University, through Hoxby,



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    SFFA wrongly contends that “UNC does not quarrel with Professor Arcidiacono’s
    calculations nor his conclusion” concerning his hypothetical transformation examples.
    Hoxby consistently rejected Arcidiacono’s conclusions and his calculations. (See, e.g.,
    UNC Ex. 23 ¶¶44-45; UNC Ex. 24 ¶31.) Moreover, SFFA’s contention ignores the
    University’s position that Arcidiacono’s analysis is immaterial and can be set aside
    without consideration of its reliability. (UNC Br. at 31-33.)


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    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 12 of 19
properly analyzed the entire applicant pool. Hoxby found that race is not a dominant

factor within the University’s admissions process and instead explains, at most, a very

small portion of admissions outcomes. (UNC Br. at 31.) Tellingly, SFFA’s opposition

does not mention this point and Arcidiacono never disputed it. The Court’s inquiry could,

and should, end here by finding that the University’s use of race in admissions is properly

narrowly tailored.

       B.     No Race-Neutral Alternative Exists That Could Promote the
              University’s Compelling Interest in Diversity as Well.

       The University has given serious, good-faith consideration to race-neutral

alternatives through the efforts of its Admissions Office, previous working groups, and

current Committee on Race-Neutral Strategies. (UNC Br. at 18-20.) Moreover, the

University and Hoxby both concluded that no race-neutral alternative would allow the

University to achieve its diversity goals about as well, without sacrificing academic

quality. (UNC Br. at 35; UNC Opp. at 22-38.) SFFA virtually ignores the University’s

self-evaluative efforts (SFFA Opp. at 16), instead effectively arguing that these efforts do

not matter because a workable race-neutral alternative exists—specifically, Kahlenberg

Simulation 11.

       Simulation 11 is a variation of the socioeconomic status (“SES”)-based race-

neutral alternative set forth in Kahlenberg’s opening report and modified in his rebuttal




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    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 13 of 19
report.3 (UNC Ex. 27 at Table C.1a, Simulation 4; UNC Ex. 28 at 51; UNC Ex. 29 at 53.)

To create this hypothetical admissions plan, Kahlenberg used an overbroad measure of

socioeconomic status that has never been employed by any university. (UNC Ex. 125

¶¶8-17.) Kahlenberg then “provided a boost in admissions” to students who came from

socioeconomically disadvantaged families, disadvantaged neighborhoods, and/or

disadvantaged high schools. (UNC Ex. 28 at 51.) Applicants are “eligible for up to three

socioeconomic bumps.” (UNC Ex. 29 at 53 n.202.)

       As a matter of law, this “alternative” to the University’s holistic admissions

process is unworkable for at least two reasons. First, the “boosts” employed would

unduly interfere with holistic review, depriving the University of its academic freedom to

set and pursue its educational mission. As Hoxby explained, Kahlenberg’s socioeconomic

“bumps” are so large that they would effectively “remove[] [the University’s] holistic

review and replace[] it with a formulaic approach based almost entirely on

socioeconomic status.” (UNC Ex. 24 ¶74; UNC Ex. 23 ¶148.) Kahlenberg attempted to


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    SFFA claims that Hoxby did “not criticize this proposal.” (SFFA Opp. at 18.) This is
    disingenuous. Kahlenberg presented Simulation 11 for the first time in his final report,
    to which Hoxby did not have the opportunity to respond. Although Hoxby has not yet
    (because she could not) criticized “this” precise proposal, SFFA ignores that Hoxby
    challenged the approach and assumptions underlying Kahlenberg’s original and
    revised SES-based plans (Simulations 4 and 6), which form the basis for Simulation
    11. (UNC Opp. at 37-38.) Hoxby also demonstrated why Kahlenberg’s SES-based
    simulations are otherwise unreliable, including poor modeling choices and the
    consideration of only past University applicants. (UNC Ex. 23 ¶¶121-135.)


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    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 14 of 19
mitigate Hoxby’s critiques by applying a smaller range of “boosts” in his final report,

among other adjustments. These meaningless adjustments cannot change that

Kahlenberg’s proposal fundamentally values socioeconomic diversity above all else—

including racial diversity. (UNC Ex. 29 at 56 (“socioeconomically disadvantaged

students should receive larger preferences than African-American students”) (emphasis

added).) The Supreme Court has rejected proposals, like this one, that would “preclude

the [U]niversity from conducting individualized assessments necessary to assemble a

student body that is not just racially diverse, but diverse along all the qualities valued by

the [U]niversity.” Grutter, 539 U.S. at 340; see also, e.g., Regents of the Univ. of Cal. v.

Bakke, 438 U.S. 265, 312 (1978) (recognizing as paramount university’s freedom to

select its student body).

       Second, Hoxby’s analysis indicates that Kahlenberg’s SES-based plans would

result in an unacceptable drop in academic preparedness, a sacrifice the Constitution does

not require the University to make. SFFA claims that Simulation 11 shows that the

University could achieve racial diversity without a substantial drop in test scores. (SFFA

Opp. at 16-17.) This conclusion reflects the flaws of the approach that produced it: when

Hoxby attempted to apply Kahlenberg’s “preferred” SES-based plan and Arcidiacono’s

model of the admissions process to the pool of anticipated applicants, she determined the

University would experience a drop of nearly 200 points in average test scores. (UNC Ex.

23 ¶¶129-130, Ex. 6.) SFFA cannot simply ignore this analysis. Hoxby consistently

                                              12




    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 15 of 19
concludes that no feasible race-neutral alternative exists that would allow the University

to attain even its current levels of racial diversity and academic preparedness.4

       As the Supreme Court has made clear, “[n]arrow tailoring does not require

exhaustion of every conceivable race-neutral alternative.” Grutter, 539 U.S. at 339.

Nevertheless here, as Kahlenberg admitted, Hoxby examined the “waterfront” of

potential alternatives. (UNC Ex. 129 at 187:15-188:5.) She concluded that none serve the

University’s educational goal of attaining racial diversity about as well. Kahlenberg’s

attempt to substitute socioeconomic diversity for racial diversity is not only unsuccessful,

it is also legally unsupported. (See UNC Br. at 37-39.) The Court should find as a matter

of law that no workable race-neutral alternative exists.

                                     CONCLUSION

       Defendants respectfully request that the Court grant Defendants’ motion for

summary judgment and deny SFFA’s cross-motion for summary judgment.




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    This conclusion extends equally to Hoxby’s SES preference and Top 5% simulations,
    which SFFA describes as “workable” (SFFA Opp. at 18). (See UNC Ex. 24 ¶76 (a
    SES preference plan would result in a class that was less academically prepared and
    less racially diverse); id. ¶81 (a “Top X% Plan would result in a matriculating class
    with substantially lower average test scores”).)


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    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 16 of 19
  Respectfully submitted this 4th day of April, 2019.

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                                      14




Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 17 of 19
                        CERTIFICATE OF WORD COUNT

      Pursuant to Local Rule 7.3(d)(1), I hereby certify that the body of this brief,

including headings and footnotes, does not exceed the limit of 3,125 words.

      This 4th day of April, 2019.

                                                        /s/ Patrick Fitzgerald
                                                        Patrick Fitzgerald




                                            15




    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 18 of 19
                            CERTIFICATE OF SERVICE

      I hereby certify that I served the foregoing Reply in Further Support of

Defendants’ Motion for Summary Judgment via the Court’s electronic filing systems,

pursuant to the Electronic Filing Procedures, on all attorneys of record who have entered

an appearance by ECF in this matter.

      This 4th day of April, 2019.

                                                       /s/ Patrick Fitzgerald
                                                       Patrick Fitzgerald




                                           16




    Case 1:14-cv-00954-LCB-JLW Document 183 Filed 04/04/19 Page 19 of 19
